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 AFFIDAVIT IN SUPPORT OF AN APPLICATION FOR A CRIMINAL COMPLAINT
       I, Postal Inspector Kyle Shadowens, being first duly sworn, state:

                                        INTRODUCTION
       1.      I make this affidavit in support of a criminal complaint establishing probable cause

for the arrest of Lee PRICE III for committing the following offenses in the Southern District of

Texas between April 2020 and the present:

            a. 18 U.S.C. § 1014, False Statements to a Financial Institution;

            b. 18 U.S.C. § 1343, Wire Fraud;

            c. 18 U.S.C. § 1344, Bank Fraud; and

            d. 18 U.S.C. § 1957, Engaging in Prohibited Monetary Transactions.

       2.      As described below, there is probable cause to believe that PRICE committed the

above-listed offenses in connection with a bank and wire fraud scheme targeting the Paycheck

Protection Program ("PPP"), a program created to address the economic fallout of the COVID-19

pandemic by providing forgivable loans to small businesses.

                                   AGENT BACKGROUND

       3.      I am employed as a federal law enforcement officer by the United States Postal

Inspection Service. I have been employed as a federal law enforcement officer since 2013, and I

am currently assigned to the Financial Crimes/Mail Fraud team in the Houston Division of the

United States Postal Inspection Service. I am responsible for conducting and have conducted many

investigations into fraud, identity theft, and related "white collar" offenses. I have been licensed
as an attorney by the State Bar of Texas since 2010, and I am a Certified Fraud Examiner. I have

received training in how to investigate numerous Postal crimes, but primarily those involving
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identity theft, mail fraud, wire fraud, bank fraud, and related "white collar" offenses. I am

authorized to obtain and execute Federal Arrest and Search Warrants.

       4.      The information presented in this affidavit is based on my own personal

investigation and the investigation of other law enforcement officers, which was communicated to

me orally or via written communication. The facts set forth do not constitute all that has been

learned in the course of the investigation but only enough to establish that probable cause exists

for the issuance of a complaint and arrest warrant for PRICE.

              OVERVIEW OF THE PAYCHECK PROTECTION PROGRAM

       5.      The Coronavirus Aid, Relief, and Economic Security ("CARES") Act is a federal

law enacted in or around March 2020 and designed to provide emergency financial assistance to

the millions of Americans who are suffering the economic effects caused by the COVID-19

pandemic. One source of relief provided by the CARES Act was the authorization of up to $349

billion in forgivable loans to small businesses for job retention and certain other expenses, through

a program referred to as the PPP. In or around April 2020, Congress authorized over $300 billion

in additional PPP funding.

       6.      In order to obtain a PPP loan, a qualifying business must submit a PPP loan

application, which is signed by an authorized representative of the business. The PPP loan

application requires the business (through its authorized representative) to acknowledge the

program rules and make certain affirmative certifications in order to be eligible to obtain the PPP

loan. In the PPP loan application, the small business (through its authorized representative) must

state, among other things, its: (a) average monthly payroll expenses; and (b) number of employees.

These figures are used to calculate the amount of money the small business is eligible to receive




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under the PPP. In addition, businesses applying for a PPP loan must provide documentation

showing their payroll expenses.

       7.      A PPP loan application must be processed by a participating lender. If a PPP loan

application is approved, the participating lender funds the PPP loan using its own monies, which

are 100 percent guaranteed by Small Business Administration ("SBA"). Data from the application,

including information about the borrower, the total amount of the loan, and the listed number of

employees, is transmitted by the lender to the SBA in the course of processing the loan.

       8.      PPP loan proceeds must be used by the business on certain permissible expenses-

payroll costs, interest on mortgages, rent, and utilities. The PPP allows the interest and principal

on the PPP loan to be entirely forgiven if the business spends the loan proceeds on these expense

items within a designated period of time after receiving the proceeds and uses a certain amount of
the PPP loan proceeds on payroll expenses.

 OVERVIEW OF THE SCHEME AND IDENTIFICATION OF RELEVANT PARTIES

                                     Overview of the Scheme

       9.      As described in detail below, investigators believe that PRICE transmitted several

materially fraudulent PPP loan applications to lenders and thereafter used the loan funds to make

impermissible purchases.

                 Background ofPRICE and Related Individuals and Entities

       10.     PRICE is a resident of Houston, Texas, and purports variously to be an executive

at Price Enterprises Holdings LLC ("Price Enterprises"), Price Logistic Services LLC ("Price

Logistic"), and 713 Construction LLC ("713 Construction"). PRICE has a lengthy criminal

history, including felony convictions for forgery in 2010 and for robbery in 2011. PRICE is




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currently the defendant in an active criminal case in Harris County, Texas, in which he is charged

with the felony offense oftampering with a government record.

       11.     Coconspirator 1 is a resident ofHouston, Texas, and believed to be an associate of

PRICE. Coconspirator 1 has prior criminal convictions, including a felony conviction for burglary.

       12.     Price Enterprises is a limited liability company formed under Nevada law in 2019

and licensed to do business in Texas on April 28, 2020. Price Enterprises has never filed with the

Texas Workforce Commission ("TWC"), as would be required, indicating that it has not hired

employees or paid unemployment taxes. Additionally, Price Enterprises has not yet reported any

revenue to the Texas Comptroller of Public Accounts ("Texas Comptroller"). Price Enterprises

claims a business address of2800 Post Oak Boulevard, Suite 4100, Houston, Texas 77056.

       13.     Price Logistic is a limited liability company that was formed in 2012, later went

into tax forfeiture, and was reinstated to do business in Texas in 2020. Price Logistic has never

filed with the TWC, indicating that it has not hired employees or paid unemployment taxes.

Additionally, Price Logistic has not reported any revenue to the Texas Comptroller. Price Logistic

claims a business address of2800 Post Oak Boulevard, Suite 4100, Houston, Texas 77056.

       14.     713 Construction is a limited liability company that was licensed to do business in

Texas on February 25, 2020. Records indicate that 713 Construction has never filed with the

TWC, indicating that it has not hired employees or paid unemployment taxes. Additionally, 713

Construction has not yet reported any revenue to state authorities. 713 Construction claims a

business address of700 Louisiana Street, Suite 3950, Houston, Texas 77002.

                                     Other Relevant Entities

       15.     Banlc 1 is based in Boston, Massachusetts. It is a federally insured financial

institution and a member of the Federal Home Loan Bank System. Bank 1 is an approved SBA




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lender and has participated as a lender in the PPP. Bank 1 received PPP loan applications on behalf

of Price Enterprises and Price Logistic.

        16.     Bank 2 is based in Salt Lake City, Utah. It is a federally insured financial institution

and a member of the Federal Home Loan Bank System. Bank 2 is an approved SBA lender and

has participated as a lender in the PPP. Bank 2 received a PPP loan application on behalf of Price

Enterprises.

        17.     Bank 3 is based in Oklahoma City, Oklahoma. It is a federally insured financial

institution and a member of the Federal Home Loan Bank System. Bank 3 is an approved SBA

lender and has participated as a lender in the PPP. Bank 3 received a PPP loan application on

behalf of Price Enterprises.

        18.     Bank 4 is based in Charlotte, North Carolina. It is a federally insured financial

institution.

        19.     Bank 5 is based in San Francisco, California. It is a federally insured financial

institution.

        20.     Lender 1 is based in California. Lender 1 is an approved SBA lender and has

participated as a lender in the PPP. Lender 1 received a PPP loan application on behalf of 713

Construction.

                                       PROBABLE CAUSE

                        The Price Enterprises PPP Application to Bank 1

        21.     According to information received by Bank 1, in or around May 2020, a PPP loan

application was submitted to Bank 1 on behalf of Price Enterprises ("Application 1"). This




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application is filled out by hand and dated May 10, 2020. 1 Application I requests a PPP loan of

$937,500.

        22.      The listed name of the individual who submitted Application 1 is "Lee Price." The

contact phone number listed has a 346 area code. Separate phone records show this phone number

is registered in the name of PRICE.

        23.      Investigation has revealed that Application I contains multiple statements that

appear to be false and suspicious. Many of these are identified below.

        24.      On Application 1, the applicant claims that Price Enterprises has 50 employees and

an average monthly payroll of $375,000. However, investigation indicates Price Enterprises has

no employees and no payroll.

        25.      By rule, Texas employers must submit reports of wages paid to the TWC.

Employers in Texas must also provide information about newly hired workers to the TWC within

20 days of hiring. Further, all Texas employers must establish an unemployment tax account with

the TWC. State law requires that employers in Texas pay unemployment tax on each eligible

employee.

        26.      TWC has no records indicating that Price Enterprises ever reported any wages for

any employee. The absence of such records also indicate that Price Enterprises has never reported

a hire, nor has Price Enterprises ever paid any unemployment tax. These facts lead investigators

to believe that Price Enterprises has never paid any wages or hired any employees.

        27.      Additionally, records were obtained from the Texas Comptroller relating to Price

Enterprises. Price Enterprises registered with the Texas Secretary of State on April 28, 2020. Prior

to this date, it did not have authorization to conduct business in Texas.


1 Although this application is dated May 10, 2020, evidence indicates that it may not have been transmitted to Bank
1 until June 2020.


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        28.    Investigators have reason to believe that the applicant provided Bank 1 with his

father's social security number instead of his own. Application 1 identifies "Lee Price" as the

CEO and 100 percent owner of Price Enterprises. The social security number listed for "Lee Price"

belongs to Lee Price Jr., who is the father of PRICE. Open-source research indicates that the

purported owner of Price Enterprises is PRICE, not Lee Price Jr. Indeed, Lee Price Jr. has no

known affiliation with Price Enterprises. As such, investigators suspect that PRICE may have

misused his father's social security number.

       29.     Also, Application 1 requires the applicant to state whether he or she is currently

subject to any pending criminal charges, on probation, or on parole. In the Price Enterprises

application to Bank 1, the applicant answered "no." This is inaccurate. A Harris County, Texas,

criminal records search shows PRICE is currently facing state felony charges of tampering with a

government record.

       30.      The supporting documentation submitted in connection with Application 1 also

bears indicia of fraud.

       31.     The supporting documents include an Internal Revenue Service ("IRS") Form 940,

which is an employer's annual federal unemployment tax return. This document lists that Price

Enterprises paid unemployment tax in Texas, but this is false. As mentioned in paragraph 26, Price

Enterprises has never paid unemployment tax to the TWC. In fact, in a filing with the Texas

Secretary of State, PRICE stated that the first day on which Price Enterprises conducted business

in Texas was January 1, 2020.

       32.     Furthermore, the submitted Form 940 lists the total unemployment tax liability for

Price Enterprises as $42 for 2019. In fact, if Price Enterprises actually employed 50 individuals




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and paid the putative salaries that appear on Application 1, the entity would have federal

unemployment tax liability substantially greater than $42.

       33.     Additionally, the applicant submitted several purported IRS Forms 941, which are

an employer's quarterly federal tax return. The four Forms 941 for the four quarters preceding the

PPP application all list identical information-they note that Price Enterprises had 50 employees

and total wages of $1,444,332. Again, the TWC has no record of any wages ever being paid by

Price Enterprises to any employee. These documents are purportedly signed by "Mike Smith,"

who is listed as "CFO." Investigators have failed to identify anyone named Mike Smith who is

affiliated with Price Enterprises. Also, as noted in paragraph 51, below, on Forms 941 for the

same period submitted to other banks, a different individual is listed as CFO.

       34.     The applicant also provided two documents titled "Payroll Spread 2019." The

documents list 25 names each. One claims to pertain to the "Dallas Office," while the other does

not specify a location. As mentioned in paragraph 31, above, PRICE informed the Texas Secretary

of State that Price Enterprises did not conduct business in Texas until January 1, 2020.

       35.     Further investigation suggests that the individuals listed on these payroll sheets are

not actual employees of Price Enterprises. No wage information, or hiring information was

provided by Price Enterprises to the TWC for any of these individuals. No unemployment tax has

ever been paid to the TWC for any of these individuals. To date, investigators have not been able

to find any connection between any of the names listed on this sheet and Price Enterprises. Mike

Smith, the purported CFO discussed above, is not identified as an employee on these sheets.

       36.     The applicant also submitted a copy of the Oklahoma driver license belonging to

Lee Price Jr. As explained in paragraph 28, above, investigators believe that the loan applicant

and the operator of Price Enterprises is actually PRICE, not Lee Price Jr.




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       37.    Application 1 was approved, and Bank 1 funded the loan. The loan documents

were electronically signed by "Lee Price" on June 23, 2020.

               · Disbursement and Use of the PPP Loan Funds from Bank 1

       38.    On or about May 11, 2020-one day after the date on the application discussed

above-an application for a checking account in the name of "Price Enterprises Holdings LLC"

was submitted to Bank 4. This application was approved, and the checking account was opened

on or about May 20, 2020.

       39.    The checking account lists an employer identification number for Price Enterprises

of 850991030. This does not appear to be an authentic employer identification number. The Texas

Comptroller has no record of this number.

       40.    The account owner for the Price Enterprises checking account is listed as "Lee E

Price." The address associated with this account is 10718 Staghill Drive, Houston, Texas 77064.

This is the same address listed on PRICE's Texas driver license.

       41.     On or about June 26, 2020, Bank 1 funded the loan connected to Application 1.

The PPP loan proceeds of $937,500 were deposited into the Price Enterprises account.

       42.     Over the subsequent days, much of this money was spent on luxury items and other

personal purchases. These expenditures do not constitute appropriate uses of PPP proceeds.

       43.    For example, on or about June 27, 2020, $233,337.60 was withdrawn for the Bank

4 account to purchase a Bank 4 cashier's check. This cashier's check was used to purchase a 2019

Lamborghini Urus. The seller of the Lamborghini confirmed to investigators that the buyer of the

vehicle was PRICE.




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       44.     On or about June 26, 2020, a purchase of $14,343.13 was made from the Price

Enterprises Bank 4 account. This money was used to buy a Rolex watch. The seller of the watch

confirmed to investigators that the buyer was PRICE. The buyer of the watch provided PRICE's

Texas driver license when buying the watch. Also, a photograph was captured of the individual

making the purchase, and the person in that photograph matches the description of PRICE.

       45.     Bank records show the funds from the Bank 4 account were also used on clothes,

dinners, and entertainment. As a few examples, between June 27 and June 30, 2020, it appears

that over $700 was spent at a liquor store, approximately $2,000 was spent at a strip club, and over
$2,500 was spent at two Houston night clubs.

       46.     Additional funds were used to facilitate real estate transactions, which agents

continue to investigate. For example, records indicate that $100,000 from the Bank 4 account was

used as a down payment on a property in north Houston. Additionally, records show that another

$108,000 from the bank 4 account was used to pay for a new lease of business office space in the

Memorial City area of Houston.

                        The Price Enterprises PPP Application to Bank 2

       47.     According to information received by Bank 2, in either May or June 2020, a PPP

loan application was submitted to Bank 2 on behalf of Price Enterprises ("Application 2").

       48.     Application 2 contained two versions of the loan application form. One version,

filled out by hand, was identical to the form submitted to Bank 1, discussed above. This application

lists the same 346 area code phone number as the contact number for Price Enterprises. As

mentioned above, this number is registered to PRICE.

       49.     The handwritten version of the forms within Application 2 contained exactly the

same false and fraudulent statements that were made in Application I, discussed in paragraphs 24




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to 29, above. These false statements include the assertion that Price Enterprises' average monthly

payroll was $375,000, when in fact it appears that Price Enterprises has no monthly payroll

expenses at all.

         50.   A second, typewritten form was also provided in Application 2. This form lists a

business phone number that has a 281 area code. This phone number is registered to PRICE. The

form also provides a different personal address for "Lee Price." Other than the change of address

and phone number, the typed version contains identical information as the two applications already

discussed. The application includes the same false statements discussed in paragraphs 24 to 29,

above.

         51.   In support of Application 2, the applicant submitted an IRS Form 941 listing

putative wages paid in the first quarter of 2020. This Form 941 claimed that Price Enterprises

employed 50 people and paid total quarterly wages of $1,444,332. The document is purportedly

signed by "Micheal Stevens," who is identified as "CFO." This conflicts with the Form 941 for

the first quarter of 2020 that was submitted as part of Application 1, which listed the CFO as "Mike

Smith."

         52.   Application 2 was initially approved, and a promissory note was prepared.

Although the loan was approved, it was ultimately not funded.

                       The Price Enterprises PPP Application to Bank 3

         53.   According to information received by Bank 3, on or about May 12, 2020, a PPP

loan application was submitted to Bank 3 on behalf of Price Enterprises ("Application 3").

         54.   Like the applications already discussed, Application 3 requests a loan in the amount

of $937,500 based on purported average monthly payroll expenses of $375,000.




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       55.     Application 3 provides a contact number with a 346 area code, which is the same

number registered to PRICE and discussed above.

       56.     Application 3 contains the exact same false statements about Price Enterprises

employees and payroll expenses discussed in paragraphs 24 to 27.

       57.     Application 3 also contains the same false statements about the applicant's criminal

history discussed in paragraph 29.

       58.     Application 3 provides a business identification number for Price Enterprises

ending in 1030. This is a different business identification nwnber than the nwnbers provided in

the Applications 1 and 2. The nwnber also appears to be fraudulent, as it is not recognized by the

Texas Comptroller and does not correspond to any known business identification nwnber

associated with Price Enterprises.

       59.     Additionally, pie applicant provided supporting documents in connection with the

Bank 3 PPP loan application. One of these supporting docwnents is the same handwritten PPP

application form discussed above.

       60.     The applicant also submitted several tax forms purporting to show federal tax

liabilities for Price Enterprises in 2019 and 2020. Although these are the same forms and relate to

the same time periods as the tax documents provided to Banks 1 and 2, much of the information

listed on these forms is inconsistent with the docwnents submitted to the other banks.

       61.     For instance, a Form 941 pertaining to the fourth quarter of2019 was submitted to

Bank 3 as part of Application 3. This Form 941 identifies Price Enterprises' total taxes after

adjustments as $233,266.75 and purports to be signed by "Lee Price," who is listed as the "CEO."

A Form 941 pertaining to the fourth quarter of2019 was also submitted to Bank 1. That Form 941




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lists Price Enterprises' total taxes after adjustments as $454,249.55 and purports to be signed by

"Mike Smith," who is listed as the "CFO."

       62.     As another example, the Form 940 transmitted to Bank 3 states that Price

Enterprises paid $21,000 in unemployment tax in 2019, while the Form 940 transmitted to Bank I

states that Price Enterprises paid $42 in unemployment tax for the same time period.

       63.     Ultimately, Application 3 was withdrawn.

                         The Price Logistic PPP Application to Bank 1

       64.     According to information received by Bank I, on or about June 27, 2020, a PPP

loan application was submitted to Bank 1 on behalf of Price Logistic ("Application 4"). This

application requests a PPP loan in the amount of $1,053,158.75.

       65.     On Application 4, the applicant claims that Price Logistic has 50 employees and an

average monthly payroll of $421,263.50. Investigation indicates Price Logistic actually has no

employees, no payroll, and no revenue.

       66.     The TWC has no records indicating that Price Logistic ever reported any wages for

any employee. The absence of such records also shows that Price Logistic has never reported a

hire, nor has Price Logistic ever paid unemployment tax. These facts lead investigators to believe

that Price Logistic has never paid any wages to anyone and has never hired an employee.

       67.     Additionally, records were obtained from the Texas Comptroller relating to Price

Logistic. Price Logistic has been registered with the Texas Secretary of State since 2012. The

entity has never reported any revenue. Indeed, in every yearly :franchise tax report submitted to

the Texas Comptroller, Price Logistic revenue is listed as $0.

       68.     Application 4 further identifies "Lee Price" as the CEO and 100 percent owner of

Price Logistic. The address and Social Security number provided for "Lee Price" correspond to




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Lee Price Jr., not PRICE. Investigation indicates that PRICE purports to operate this business.

Price Jr. has no known affiliation with Price Logistic.

         69.   Supporting documents submitted in connection with Application 4, including

letters from the IRS, list PRICE-not Lee Price Jr.-as the sole member of Price Logistic.

         70.   In Application 4, the applicant certified that he is not subject to any pending

criminal charges, on probation, or on parole. But as mentioned in paragraph 29, PRICE is currently

facing felony charges of tampering with a government record in Harris County, Texas.

        71.    The Form 940 submitted in connection with Application 4 states that Price Logistic

paid $42 in federal unemployment tax in 2019. This is appears to be inaccurate. If Price Logistic

actually employed 50 individuals and paid the putative salaries, the entity would have federal

unemployment tax liability substantially greater than $42. This error mirrors the inaccuracy in the

Price Enterprises application to Bank 1 discussed in paragraph 32.

        72.    The applicant also provided two documents titled "Payroll Spread 2019." These

are the exact same documents submitted in connection with Application 1 discussed in paragraphs

34 and 35. Price Logistic and Price Enterprises purport to be entirely separate businesses, so these

putative payroll sheets listing identical employees for both entities is indicative of fraud.

        73.    Application 4 was initially approved, but Bank 1 ultimately declined to fund the

loan.

                       The 713 Construction PPP Application to Lender 1

        74.    According to information received by Lender 1, on or about May 2, 2020, a PPP

loan application was submitted to Lender 1 on behalf of 713 Construction ("Application 5").

Application 5 requests a PPP loan of $752,452. The contact email address listed on the application

is info@713-construction.com.



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       75.     Investigation has revealed that Application 5 contains numerous statements that

appear to be false and suspicious. Many of these are identified below.

       76.     Application 5 states that Victim 1 is the CEO and 100 percent owner of 713

Construction. Victim 1 's address is listed as "17711 Dawn Mill Ln Cypress." Investigation has

revealed that Victim 1 died on April 7, 2020, at the age of 88. He owned a wine shop near

Cleveland, Ohio, and had no known connection to 713 Construction.

       77.     The signature on Application 5 is in Victim 1 's name, and Victim 1 is identified on

the application as the primary contact person. But again, Victim 1 died the month before this

application was submitted.

       78.     On Application 5, the applicant claims that 713 Construction has 30 employees and

an average monthly payroll of $300,981. However, investigation indicates 713 Construction

actually has no employees and no payroll.

       79.     The TWC has no records indicating that 713 Construction ever reported any wages

for any employee. The absence of such records also shows that 713 Gonstruction has never

reported a hire, nor has 713 Construction ever paid any unemployment tax. These facts lead

investigators to believe that 713 Construction has never paid any wages to anyone and has never

hired an employee.

       80.     Additionally, records obtained from the Texas Comptroller indicate that 713

Construction was formed and was registered with the Texas Secretary of State on February 25,

2020. Prior to this date, 713 Construction did not have authorization to do business in Texas­

indeed, it appears that before February 25, 2020, 713 Construction did not exist.

       81.     Further, a total average monthly payroll of $300,981 for 30 employees equates to

average wages of $10,000 per employee each month, or an average annual salary of $120,000.




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       82.     Application 5 lists 713 Construction's address as 700 Louisiana Street, Suite 3950,

Houston, Texas 77002. This address corresponds not to an individual office location, but to a

coworking space operated by a multinational entity called Servcorp.

       83.     The supporting documentation submitted in connection with Application 5 also

bears indicia of fraud.

       84.     For instance, the applicant provided Lender 1 a Texas driver license in the name of

Victim 1, with an address of 17711 Dawn Mill Lane, Cypress, Texas 77433. Investigation has

revealed that this driver license is counterfeit. A search of Texas Department of Public Safety

records revealed that Victim l's purported driver license number is not an actual Texas driver

license number.

       85.     The supporting documents also includ� a 2019 IRS Form 940. The Form 940 lists

that 713 Construction paid unemployment tax in Texas in 2019, but this is false. As mentioned in

paragraph 79, 713 Construction has never paid unemployment tax to the TWC. Indeed, 713

Construction was not formed as an entity until February 25, 2020.

       86.     The Form 940 also claims that 713 Construction paid $2,808,000 in wages in 2019.

Another supporting document that purports to be a payroll sheet lists the same wage amount. A

separate tax document states that 713 Construction had gross receipts in 2019 of $8,237,961. But

again, investigation indicates that 713 Construction did not legally exist until February 25, 2020.

       87.     Lender 1 approved Application 5 and funded the loan. Upon approval, Lender 1

prepared loan documentation. This documentation included a wire transfer information sheet to

be filled out by the applicant. On this sheet, the applicant listed Victim 1 as the CEO of 713

Construction and provided info@713-construction.com as the contact email address.




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                   Disbursement and Use of the PPP Loan Funds from Lender 1

       88.     On or about May 20, 2020, PPP loan proceeds of $752,452 connected to

Application 5 were deposited into an account at Bank 5 in the name of"713 Construction LLC."

       89.     That same day, a $250,000 check was drawn on the 713 Construction account and

deposited into a Bank 5 account in the name of Coconspirator 1.

       90.    On May 21, 2020, four withdrawals were made from Coconspirator 1 's account,

totaling $170,000. One ofthese withdrawals was used to purchase a Bank 5 cashier's check in the

amount of $85,000. Investigation indicates that the remaining $85,000 was withdrawn from the

account in cash.

       91.    Also on May 21, the $85,000 cashier's check was used to purchase a 2020 Ford F-

350 from a car dealership in the Houston area. The sales documentation obtained from the car

dealership included a Texas driver license in the name of PRICE that bore an address of 10718

Staghill Drive, Houston, Texas 77064.

       92.    Furthermore, the day before, on May 20, 2020, PRICE leased a luxury apartment

in midtown Houston. On the lease, PRICE identified his employer as 713 Construction. PRICE

listed his title as CEO and claimed an estimated annual income of $1 million. He also stated that

he had been employed by 713 Construction since January 4, 2000. Further, PRICE identified his

supervisor as "Arron Smith." PRICE provided info@7l3-construction.com as the contact email

address for his supervisor. As mentioned above, this is the same email address listed on the 713

Construction PPP application.

       93.    In July 2020, investigators saw a white Ford F-350 matching the description of the

vehicle described above parked at the luxury apartment PRICE leased. Around this same time,

investigators also saw PRICE enter the Ford F-350 at a location in the Memorial City area of




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Houston. Later in the same month, investigators saw PRICE drive the Ford F-350 from the

Memorial City area to midtown Houston.

                                        CONCLUSION

       94.     In total, evidence indicates that PRICE received over $1.6 million via his

submission of two false PPP applications. The entities receiving the PPP funding do not appear to

have employees or to pay wages that are in any way consistent with the representations made in

the PPP applications. Additionally, evidence indicates that PRICE used the PPP loan funds to pay

for vehicles, luxury goods, and personal items. As such, the fraudulently obtained money is not

being utilized for payroll expenses or for any other legitimate purpose authorized by the PPP.

       95.     Based on the foregoing, I submit that there is probable cause that, between April

2020 and the present, PRICE committed the crimes identified in paragraphs l .a. through l .d.

Therefore, I request that a criminal complaint be issued, along with a warrant for PRICE's arrest.




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